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 8
                          IN THE UNITED STATES DISTRICT COURT
 9
                             EASTERN DISTRICT OF CALIFORNIA
10
                                                CASE NO. 1:10:CR-00398-AWI-BAM
11
     UNITED STATES OF AMERICA,                  ORDER FOR FORFEITURE MONEY
12                                              JUDGMENT
                              Plaintiff,
13
                        v.
14
     JON JON VANCE LANKFORD,
15     aka Jon Vance McDade
        aka Jon Jon Vance McDade
16
                              Defendant.
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19        Based upon the United States’ Application for Forfeiture Money Judgment and the
20 plea agreement entered into between plaintiff United States of America and defendant

21 Jon Jon Vance Lankford aka Jon Vance McDade aka Jon Jon Vance McDade,

22        IT IS HEREBY ORDERED that
23        1.     Defendant Jon Jon Vance Lankford aka Jon Vance McDade aka Jon Jon
24 Vance McDade shall forfeit to the United States $495,000, and the Court imposes a

25 personal forfeiture money judgment against the defendant in that amount.

26        2.     Any funds applied towards such judgment shall be forfeited to the United
27 States of America and disposed of as provided for by law. Prior to the imposition of

28 sentence, any funds delivered to the United States to satisfy the personal money judgment

      Order for Forfeiture Money Judgment       1
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 1 shall be seized and held by the United States Marshals Service, in its secure custody and

 2 control.

 3                           3.   This Order of Forfeiture shall become final as to the defendant at the time of
 4 sentencing and shall be made part of the sentence and included in the judgment.

 5                           4.   The United States may, at any time, move pursuant to Rule 32.2(e) to amend
 6 this Order of Forfeiture to substitute property having a value not to exceed $495,000 to

 7 satisfy the money judgment in whole or in part.

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10 IT IS SO ORDERED.

11 Dated: October 10, 2013
                                                           SENIOR DISTRICT JUDGE
12   DEAC_Sign ature-END:




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                     Order for Forfeiture Money Judgment          2
